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                        IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


J.O.P., et al.,
                                                     Civil Action No. 8:19-CV-01944-SAG
                   Plaintiffs,
                                                     DEFENDANTS’
        v.
                                                     COMPLIANCE REPORT
U.S. DEPARTMENT OF HOMELAND
SECURITY, et al.,

                   Defendants.




        Pursuant to the settlement agreed to by the Parties and approved by the Court (ECF.

        No.205, Defendants respectfully submit the following Compliance Report. For their

        second Compliance Report, Defendants report the following steps taken pursuant to

        Section III of the Settlement Agreement between the Effective Date of the Settlement

        Agreement and April 21, 2025:

       A. [Relating to Paragraph III.A] On January 30, 2025 USCIS issued a superseding

             memorandum in accordance with Paragraph III.A of the Settlement Agreement. The

             public may find this memorandum online under the related links tab at https://

             www.uscis.gov/humanitarian/refugees-and-asylum/asylum/minor-children-applying-

             for-asylum-by-themselves.

        B. [Relating to Paragraph III.B] USCIS has complied with Paragraph III.B of the

             Settlement Agreement in determining jurisdiction over Class Members’ asylum

             applications. During this reporting period Defendants were made aware of 3

             instances in which class members allegedly received an erroneous jurisdictional

             rejection of their asylum application from USCIS. Defendants have provided a
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    response to these allegations and since taken any necessary corrective action in

    each of these instances.

C. [Relating to Paragraph III.C] USCIS has issued Adverse Jurisdictional

    Determinations to 2 Class Members based on USCIS’s determination that EOIR has

    jurisdiction because the Class Member did not meet the statutory UAC definition

    (found at 6 U.S.C. § 279(g)(2)) at the time of filing their asylum application. USCIS

    certifies those determinations were issued pursuant to Paragraph III.C of the

    Settlement Agreement, in that the basis for each Adverse Jurisdictional

    Determination was the Class Member’s placement in adult immigration detention

    after a Prior UAC Determination but before filing their asylum application.

D. [Relating to Paragraph III.D] USCIS has complied with Paragraph III.D of the

    Settlement Agreement in determining its jurisdiction over Class Members’ asylum

    applications.

E. [Relating to Paragraph III.E]

       1. [Relating to Paragraph III.E.1] As of April 21, 2025, USCIS has retracted

           Adverse Jurisdictional Determinations in the cases of 19 Class Members, as

           required by Paragraph III.C.2 of the Settlement Agreement. As of April 21,

           2025, USCIS has fully complied with Paragraph III.E.1 of the Settlement

           Agreement.

       2. [Relating to Paragraph III.E.2] As of April 21, 2025, USCIS has retracted

           Adverse Jurisdictional Determinations in the cases of 216 Class Members, as

           required by Paragraphs III.B and/or III.D of the Settlement Agreement. As of

           April 21, 2025, USCIS has fully complied with Paragraph III.E.2 of the

           Settlement Agreement.
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                3. [Relating to Paragraph III.E.3] As of April 21, 2025, USCIS has mailed

                    notices of re-examination of jurisdictional determinations to 996 Class

                    Members. As of April 21, 2025, USCIS has fully complied with Paragraph

                    III.E.3 of the Settlement Agreement.

        F. [Relating to Paragraph III.F] As of April 21, 2025, USCIS has mailed notices to 1871

            Class Members notifying them that USCIS has released a hold placed on the

            application in or after March 2021. As of April 21, 2025, USCIS has fully complied

            with Paragraph III.F of the Settlement Agreement.

        G. [Relating to Paragraph III.G] As of February 25, 2025, USCIS has adopted procedures

            for expediting Class Members’ cases as provided under Paragraph III.G of the

            Settlement Agreement. The public may find those procedures online under the related

            links tab at https://www.uscis.gov/humanitarian/refugees-and-asylum/asylum/minor-

            children-applying-for-asylum-by-themselves.

Dated: April 24, 2025                      Respectfully Submitted,

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